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DECLARATION OF VERONICA STENULSON

VERONICA STENULSON, pursiait to 28 (S.C. § §746(2), under penalty of perjury.

dactare: hat:

1. fwas hired by Reciprocity Industries. LLC { "Reviprocity”) in or around August
720 to werk in its Montana office. [worked there as an Intake Professional for approximately
tour five months until my emplox ment with Reciprocity ended in late November 2020, Tam
DU veux ald. Plive in Montana

ae Plearned about a job openimg at Reciprocity (rom tends trom middle school and
hivh school Dimet wih Sara Willams at Reciprocity before being hired as an [ntake
Professional. and spent one Week bere trained on Reciprocity s computer systems after T began
work. Phere were no educational requirements for the position.

; My responsibilities as an Inodse Professional included speaking with callers on
the telephone and collecting their answers lo quesuens. Depending ana caller's answer to five
fu seven questions, P would either inform die caller iat their claim vould not be accepted or
would forward their information toa cause manaeer. ;

| Reeiprocity mainuined a website on which seripts for various types of claims
were pasted “Phe questions Tasked acaller were tailored to ihe type of claim that was being
dligeed Por example, ita caller alleged to lave been injured by a medication, | would use a set
of questions that differed Irom those | asked ef sameone whe chumed to have been abused.

5, “Abused in Scouting | chimis were tie most common type that Reeiprocity
handled: while | worked there. but Reeipreciy aise handled other types of claims such as
medication claims. pesticides (Roundup) elums. Abused in Mormonism claims. claims
Hivos a female scouting organization. and clims agamst the Catholic Church.

0. Vhe next step in rhe process woe the completion, by the caller, of a questionnaire
that iigitated approximately 30 questians. “The yuestiannuire asked claimants questions about
such thiags as their prior criminal history. education. and how the abuse affeeted them,

7 On average. | handled approximately 7§ calls per day tor the four months that |
worked af Reciprocity. Prepeeted epproximatels ten prospective claimants out of the
approNumately 6.000 claimants with whom | spoke. fworked from 1 p.m. until 10 p.m, five
davs per week.

® Asan employee of Reciprocis Tavas paid Sil or $12 per hour, Trevceived a
weekly bonus of S200 HT signed up Wwenbls chumams. An additional bonus of $100 was paid for
every ten clammants that Psigned up beyond iventy. No bonus was paid untess at feast twenty
dialniais were signed up. The contact cents signed authorized Reciprocity to Keep 40 percent
of any amount awarded, Same callers physicdiv signed their contracts. but as it got closer to
November 2020, we were ols doing cloctromie signatures. Llectronie signatures were alse used
(an teareerated claimants.
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we .
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oF Reciprocity employees were cognivant of how many vallers were signed up as

clamnaats by other Reciprocity emplovees. Pe sal was split into eur compcuilive teams that “-

were fed by Sara Williams. Ambrosia Reaves. and Tint Villev/ The teams had different names.
Fhe team [was on was known as “The Cool Ones.” Each team was. composed of a leader, an
intike professional, two case managers. and a eyher-6 person. My team, along with the team that
was fed by Reaves, were the wo highest producing teams in the office. Mike was a case
tiger on Reaves® am who was Koows tor his ability lo sign up claimants. Mike would

senetimes get 200 callers lo sign in a week

1. Reciprocity handled approximately 14.000 Bey Scout claims before the window
i dasecl for filing elaums in November 20200 We would also keep track of numbers. There were
white hourds everywhere in the office on which sumbers of claims were written. Treecived
iulliple weekly bonuses for sming up chimants, Bonuses sometimes reached $1000 over
aves werk pertods when POO ciiumants were sivoed ap

[i Sara Wilhaiis, Arobrosia Rosves. and Tim Tilley were the employees who were
woghiiee af the Montana otfice. Approximatets 1 caiployees worked in Reciprocity’s Montana
ofiies None af them were aderneys Twas pant ay Reeiprocity. The signage tn the building in
which Twaorked alse said Reeiprocits.

tal, There Were instances where clams were put through for callers who had either
vhunged their mind about pursuing a chinb or wie were told that they did net qualify. [fsuch a
claimant had already signed a Prootof Claw. Mr. Reaves instructed me to leave the claim on
file. but ta itorm the chent that ther claim bad been canceled. [felt bad about misleading
enters so Psentemails notifying them tha) was unable to reseind their claim at that time, but
winlid continue Uying.

13, Callers asked that dior claims be rescinded more than we, thought they would. 1
felt bad about misleading callers so] offen asked my supervisors to reconsider their decision not
i rescind the claims. The typical rosponse E cecerved was that the chent was probably going ta
call buck and ask that the claim be remstated. seit was easier just to leave the claim on file.

i. Write [| did not tell callers precisely how much money they could be awarded, |
wis tusiruected fo tell callers that we would net shoot for anything lower than one lundred
thoisand dollars. fwas alse tald to let chimants know thatthe Boy Scouts had been selling a lat
Of fy daacts ui order te vencrate money that could be used to settle claims.

is, I Irequenily Nelded questions trom callers about remaining anonymous,
Recipracity’s claimants were (old that thes could remain anonymous through the entirety of this

piweens

If Toward the end dt my emplavmeat by Reciprocity, employees were told that we
condd push through Proots of Claim without the clamants” signatures. The claimants” signatures
wore electronically atixed to Proofs of Cliims $y copying their signatures from their contracts
wiht pasting them onto their Proais of Charms

7 Sometintes we were told te chiatge the details of a caller's story tn order to make
then clus seem more viable. bat | was not comtortable with that directive.. Case managers

user

rep: AS

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weettid sev this i ordyr to get more callers signed up) When | informed a case manager that a
voafhers elormution did not qualify asa valid cham, the cuse manager sometimes said, “Oh. 1 can
at then signed, just send them over” When t reminded the case manager that hel hadn't even
fooked at the claamant’s Me ver the case manager typically responded, “Oh, we'll figure
someting out.” The case managers whe ciniployed this practice, meluded- McRae who did this
obeys Stdney MeCleary did i several dimes, and other case managers altered claimant's
murdtavsaas well, One would aller the facts of a caller's experiences fo get that extra caller
sigheyl up se as lo gel Chat extra one fundred della: bonus, When employees gat close to the next
vemis level Gittervals of 10 signings hevond the first 20). they would become more determined
tedaaeh that level in order to secure anedier homs,

Is Although Pwas wiined to reniese duplicate claims from Reciprocity’s system. |
ainanwre that tor the last four io siy weeks of ms employment with Reeiprécity, team leaders
mistriei sd emplovees lo allow duplicate Prod. of Claim ta remain active Team leaders
somigtotigs sad. “Well just give dem two chrins. thats fine.”

14. Telephone calls with Reciprocity were recorded. [ believe that callers were made
wvcare od Uns practice by a reeorded messave. “3 a,
4). My employment ended when the ume to file Boy Scout claims Che window)

waded io November 2926 und Reciprocity ce lonver needed us many employees.

Pursuantte 22 US 00. 3 1 T4ef2 dmake the foregoing statements under penalty of

Perpuls

Dated. April, 2021

Respeertuliv submitted,

VERONICA STENULSON

Or» A team)

apd The name H Sosen HRMS
art om Re 2.08
